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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION




LUIS V. LOPEZ,                              )
                                            )              CIVIL ACTION NO.
             Petitioner,                    )
                                            )              3:05-CV-0284-G
VS.                                         )
                                            )              CRIMINAL ACTION NO.
UNITED STATES OF AMERICA,                   )
                                            )              3:97-CR-257(12)-G
             Respondent.                    )




                                       ORDER


      After reviewing the objections to the findings, conclusions, and

recommendation (“Findings”) of the United States Magistrate Judge and conducting

a de novo review of those parts of the Findings to which objections have been made, I

am of the opinion that the Findings of the magistrate judge are correct and they are

hereby accepted as the Findings of the court.

      It is therefore ORDERED that those Findings are ADOPTED as the findings

and conclusions of the court.


June 21, 2005.
